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(= Case 2:23-cv-00909-NIISCONDUCT REPORT 05/17/23 Page 2 of 6
DEPARTMENT OF CORRECTIONS

BUCKS COUNTY
‘Incident Number: 23-0124-389 oo Inmates BCCF Number 022319

. . Inmates D.0.B 96/03/1959
A0.B8-RN -fop0 NOOR

OFFICER’S REPOR —

Time "

Inmate’s Name ~ ) Place of Misconduct ) | Date
Wilson, Jimmy L. . Delta Module 01/24/2023 0920 hrs
Cell Name Cell Name
8 0
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ES ;
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§ 5 S
Oo
Class & No. : ‘Misconduct | : Class & No. | Misconduct
ee . .
1-4 Assault-on Staff N&\ OWA 1 1-28 Creating a Disturbance
1-22 Insolence 1-37 Attempting to commit assault on staff WIioa Wa
| 1-24 eisoneying a Direct Order \

Officer's Version

On 01/24/2003 at “approximately 0920 hrs, TC ‘Officer Bunda was posted on Delta Module. At this time, medication distribution
was in progress. | started to walk around with the nurse to distribute medication to locked inmates. Inmate Wilson was first on
the list of locked inmates to receive medication. The cell he was housed in (D-06) has no tray slot. | approached his cel! door
with the nurse and asked him if he wanted his medication. He replied "Yes." | opened his cell door and he took his medication
cup from the nurse and left his cell walking into the dayroom towards the water fountain. | informed this inmate several times
that since he is Administrative locked he cannot leave his cell. | gave inmate Wilson several verbal directives to return to his
cell in which he refused. | attempted to quide him back to his cell in which he was still resisting and failing to Comply with all
verbal direct orders. He then threw an elbow towards myself and Ofc. Fabiani. At this time, we assisted the inmate to the floor
and | applied handcuffs. Inmate Wilson was then escorted off the unit to the dispensary to be evaluated ‘by medical staff. End

of Report

_ Immediate Action Taken —
Locked pending CEB

Copy Given To B Ee Date: _ _ s Time: 4°
inmate By: (as GLU? J CAR 3 Led Skyrs
Date of Report ~ "Signature and Title of Reporting Officer Institution
01/24/2023 Officer A. Bunda BCCF

Reviewed By Sgt. Niccletti
Shift Supervisor

Z,
Reviewed By Lt. warts fP~ cows
Shift Commander \ Ay

Date Reviewed 01-0124-2023

Sy

Case 2:23-cv-00909-NIQA Document 10 Filed 05/17/23 Page 3 of 6

Case 2:23-cv-00909-NIQA Document 10 Filed 05/17/23 Page 4 of 6

Vi Exercise Pro:, “m For: Date: 3/8/2023
ff Doylestown Health JAMES WILSON Page: 1

Doylestown Hospital
\ TN)
Comment: \\ ak \\). (A — %
Increase exercises 1 and 2 to 10 reps after 3-4 days. 0 a N A
q) AROM shid ER/IR for Supraspinatus
¢ Lie on back with arm slightly away from side.

¢ Bend elbow to about 45 degrees.
¢ Rotate arm inward and outward.

Perform 1 set of 10 repetition(s), three times a day.

ARCivi snid reiract bili Siavid arms at sige
¢ Stand with arms at sides.

* Squeeze both shoulder blades together.
¢ Relax and repeat.

Perform 1 set of 5 repetition(s), three times a day.

Hold exercise for 5 Seconds.

2)

Issued By: Matt McMahon

These exercises are to be used only under the direction of a licensed, qualified professional or after consulting your physician.

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Case 2:23-cv-00909-NIQA Document 10 Filed 05/17/23 Page 5 of 6

Yn Exercis:. gram For: - Date: 3/8/2023
{ff Doylestown Health JAMES VILSON Page: 2
Doylestown Hospital VO , ao OY ~(009, A PAE

2 \ CA Bo)
1) AROM shld fix (finger walking) at wall

¢ Stand, facing wall.
* Place hand on wall at hip level.

¢ Using your fingers, walk your arm upward through
available range, and walk back down.

Perform 1 set of 5 repetition(s), three times a day.

Hold exercise for 5 Seconds.

2)

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a Ae.

Issued By: Matt McMahon

These exercises are to be used only under the direction of a licensed, qualified professional or after consulting your physician.

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Doblestown ba, (B00)

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-NIQA Document 10 Filed 05/17/23 Page 6 of 6

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Case meee
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